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                          IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


 In re:                                                  Chapter 11

 FRANCHISE GROUP, INC., et al.,                          Case No. 24-12480 (JTD)

                                                         (Jointly Administered)
                   Debtors.



                      MOTION AND ORDER FOR ADMISSION PRO HAC VICE
          Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the admission pro
hac vice of Nacif Taousse of Latham & Watkins LLP to represent JPMorgan Chase Bank, N.A., the
Prepetition ABL Agent in the above-captioned cases and any and all adversary proceedings.
Dated: January 8, 2025                     Respectfully submitted,
Wilmington, Delaware
                                                     /s/ Brett M. Haywood
                                                    Brett M. Haywood (No. 6166)
                                                    POTTER ANDERSON & CORROON LLP
                                                    1313 N. Market Street, 6th Floor
                                                    Wilmington, Delaware 19801
                                                    Telephone: (302) 984-6000
                                                    Email: bhaywood@potteranderson.com

                CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
          Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing, and in good standing as a member of the Bar of the State of New York and submit to the
disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course
of this action. I also certify that I am generally familiar with this Court’s Local Rules and with the Standing
Order for District Court Fund revised 12/21/23. I further certify that the fee of $50.00 has been paid to the
Clerk of Court for the District Court.
Dated: January 8, 2025                              /s/ Nacif Taousse
                                                    Nacif Taousse, Esq.
                                                    LATHAM & WATKINS LLP
                                                    1271 Avenue of the Americas
                                                    New York, New York 10020
                                                    Telephone: (212) 906-1200
                                                    Email: nacif.taousse@lw.com

                                      ORDER GRANTING MOTION
          IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




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